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17
                                  UNITED STATES DISTRICT COURT
18
                                 NORTHERN DISTRICT OF CALIFORNIA
19                                        SAN FRANCISCO DIVISION
20   UAB “PLANNER5D” d/b/a PLANNER 5D,             )   Case No. 3:19-cv-03132-WHO
                                                   )   Case No. 3:20-cv-02198-WHO
21
                   Plaintiff,                      )   Case No. 3:20-cv-08261-WHO
22                                                 )
            vs.                                    )   STIPULATED FEDERAL RULES OF
23                                                 )   EVIDENCE 502(d) CLAWBACK
     META PLATFORMS, INC., FACEBOOK                )   ORDER
24   TECHNOLOGIES, LLC, THE TRUSTEES               )
     OF PRINCETON UNIVERSITY, DOES 1-              )   First Amended Complaint Filed: December 6,
25   200, ABC CORPORATIONS 1-20 and XYZ            )   2019
26   UNIVERSITIES 1-20,                            )
                                                   )
27                 Defendants.                     )
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     STIPULATED [PROPOSED] FEDERAL RULE OF
     EVIDENCE 502(D) CLAWBACK ORDER                                              CASE NO. 3:19-CV-003132
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 1   1. PURPOSE
 2           Pursuant to Federal Rule of Evidence 502(d), the production or disclosure of any documents

 3   reflecting communications or information protected from discovery, including under the attorney-

 4   client privilege, work product doctrine, the joint defense or common interest privilege, privacy laws

 5   and regulations, or any other immunity from discovery (collectively “privilege or protection”), and

 6   accompanying metadata (“Protected Documents”), does not result in the waiver of any privilege or

 7   protection, including subject matter waiver, associated with such Protected Documents as to the

 8   receiving party or any third parties in this or in any other state or federal proceeding regardless of the

 9   circumstances. This Paragraph provides the maximum protection allowed by Federal Rule of

10   Evidence 502(d) with regard to Protected Documents. Federal Rule of Evidence 502(b) does not
11   apply to any disputes regarding Protected Documents, and instead this Stipulated 502(d) Order
12   governs all disputes regarding Protected Documents produced in this litigation. Nothing contained
13   herein requires the production of Protected Documents, and no party is required to undertake a
14   “quick peek” process under Fed. R. Civ. P. 26(b)(5).
15   2. CLAWBACK AGREEMENT
16           In the event that a producing party discovers that it produced Protected Document(s), it shall
17   serve notice of the claim of privilege or protection by email to all counsel of record for the receiving

18   party (a “Clawback Notice”), sufficiently identifying the Protected Document(s) within a reasonable

19   time.

20           As soon as practicable after service of the Clawback Notice, the producing party shall

21   provide (i) if only a portion of the document contains privileged or protected material, a new copy of

22   the document utilizing the same bates number(s) as the original that has been redacted to protect the

23   privilege or protected material; or (ii) if the entire document is privileged or protected, a slip sheet

24   identifying the same bates number(s) as the original noting that the document has been withheld.

25   Any Protected Document that is the subject of a Clawback Notice will be included on a privilege log

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     STIPULATED [PROPOSED] FEDERAL RULE OF
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 1   if and as required by the privilege-logging procedures agreed to by the parties or ordered by the

 2   Court.

 3   3. PROCEDURES FOLLOWING CLAWBACK NOTICE
 4      a) Within ten business days of receipt of a Clawback Notice (regardless of whether the

 5   receiving party agrees with or plans to challenge the producing party’s claim of privilege or

 6   protection):

 7            (i) the receiving party must promptly return and/or destroy the Protected Document(s), all

 8   copies thereof, and certify to the producing party when this has been completed; and

 9            (ii) the receiving party must either (A) destroy any notes that reproduce, copy, or otherwise

10   disclose the substance of the Protected Documents, or (B) sequester such notes and not reference

11   them until any dispute over the status of the Protected Documents is resolved, informing the

12   producing party it is doing so. If the documents are deemed protected, the receiving party must

13   destroy the sequestered notes and so certify to the producing party.

14      b) If a receiving party challenges a claim that a Protected Document specified in a Clawback

15   Notice is privileged or protected, the receiving party shall notify the producing party of its challenge

16   within 5 business days of receiving the Clawback Notice.

17      c) Within ten business days of the producing party receiving notification of the challenge, the

18   parties shall meet and confer in an effort to resolve their disagreement. If the parties are unable to

19   resolve their disagreement, either party may submit the issue to the Court for a determination in

20   accordance with Judge Orrick’s Standing Order.

21      d) The receiving party must not use or disclose the Protected Document(s) covered by the

22   Clawback Notice during the time in which the receiving party is challenging the Protected

23   Document(s).

24   4. PROCEDURE UPON DISCOVERY BY A RECEIVING PARTY OF PRODUCED
        PROTECTED DOCUMENTS
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26            Consistent with all counsel’s professional obligations regarding the respect for rights of third

27   persons, in the event that a receiving party discovers that it has received or examined document(s)

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 1   that are or reasonably may be subject to a claim of privilege or protection, the receiving party

 2   promptly shall (i) sequester the document(s), and (ii) within four business days of such discovery,

 3   serve notice by email to all counsel of record of the producing party of the possible production or

 4   disclosure by identifying the bates range(s) of the document the receiving party believes are or may

 5   be privileged or protected, and whether the document(s) were or may have been produced or

 6   disclosed (a “Production Notice”). Upon the producing party receiving a Production Notice, if the

 7   producing party determines that the subject documents are privileged or protected, the producing

 8   party shall serve a Clawback Notice by email on all counsel of record of the receiving party within

 9   ten business days, and the receiving party shall promptly destroy or return the Protected Documents,

10   and the producing party shall promptly provide replacement images as described in Paragraph 2

11   above.

12   5. PROCEDURES DURING DEPOSITION AND HEARING
13      a) If, during a deposition, a producing party claims that a document being used in the deposition

14   (e.g., marked as an exhibit, shown to the witness, or made the subject of examination) contains

15   material that is privileged or protected, the producing party may, in its sole discretion, do one or

16   more of the following: (a) allow the Protected Document to be used during the deposition without

17   waiver of any claim of privilege or protection; (b) allow questioning about the Protected Document

18   but instruct the witness not to answer questions concerning the parts of the Protected Document

19   containing privileged or protected material; or (c) object to the use of the Protected Document at the

20   deposition, in which case no questions may be asked and no testimony may be given relating to the

21   Protected Document or the privileged or protected portion of the Document until the matter has been

22   resolved by agreement or by the Court.

23      b) In all events, once the Protected Document is no longer in use at the deposition, the receiving

24   party shall immediately sequester all copies of the Protected Document. As to any testimony subject

25   to a claim of privilege or protection, the producing party shall serve a Clawback Notice within four

26   business days after receipt of the final transcript of the deposition, after which the parties shall

27   follow the procedures set forth in Paragraphs 2 and 3, as applicable. Pending determination of any

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     STIPULATED [PROPOSED] FEDERAL RULE OF
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 1   challenge to such a Clawback Notice, all parties with access to the deposition transcript shall treat

 2   the relevant testimony in accordance with Paragraph 3. In the event the Court decides the clawback

 3   dispute in the receiving party’s favor and the receiving party was denied the opportunity to examine

 4   a witness as to the materials at issue, the witness shall be made available as soon as practicable after

 5   the Court’s decision to be examined only about the materials subject to the Clawback Notice.

 6      c) If a receiving party uses discovery materials in a brief or at a hearing, and the producing

 7   party has not served a Clawback Notice as to those materials in advance of the briefing event or

 8   hearing, the producing party must serve a Clawback Notice within four business days of receipt of

 9   the briefing or the hearing. Thereafter, the procedures set forth in Paragraph 3 apply. To the extent

10   any privileged or protected material is placed into the public record in connection with briefing or a

11   hearing, the receiving party shall (a) withdraw the portion of the briefing and exhibits that contain

12   privileged or protected material, (b) request the Court seal that material, in accordance with Judge

13   Orrick’s Standing Order on Administrative Motions to File Under Seal, or (c) join or not oppose a

14   motion to seal the privileged or protected material, in accordance with Judge Orrick’s Standing

15   Order on Administrative Motions to File Under Seal.

16   6. PROHIBITION ON USE OF PRIVILEGED INFORMATION
17          To the extent any party is aware that it has obtained Protected Documents, has received a

18   Clawback Notice, or is reasonably on notice that it has obtained privileged or protected information

19   through production, disclosure, or communications (“Privileged Information”), such Protected

20   Documents and/or Privileged Information may not be submitted to the Court (except as part of a

21   resolution on the status of the Protected Documents), presented for admission into evidence, or

22   sought in discovery in this proceeding or in any other proceeding or action.

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24   IT IS SO STIPULATED, through Counsel of Record.

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     STIPULATED [PROPOSED] FEDERAL RULE OF
     EVIDENCE 502(D) CLAWBACK ORDER                                             CASE NO. 3:19-CV-003132
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 1   Dated: November 22, 2021                 KIRKLAND & ELLIS LLP
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 5                                            Meta Platforms, Inc.
                                              and Facebook Technologies, LLC
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 7   Dated: November 22, 2021                 JENNER & BLOCK LLP
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                                              Andrew H. Bart (admitted pro hac vice)
10
                                              Attorneys for Defendant
11                                            The Trustee of Princeton University
12

13
     Dated: November 22, 2021                 THE BUSINESS LITIGATION GROUP, P.C.
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                                              Will B. Fitton (S.B.N. 182818)
16
                                              Attorneys for Plaintiff
17                                            UAB “Planner5D”
18

19   IT IS SO ORDERED.
20

21            November 22
     Dated: _________________, 2021
22
                                              HON. WILLIAM H. ORRICK
23                                            United States District Judge
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     STIPULATED [PROPOSED] FEDERAL RULE OF
     EVIDENCE 502(D) CLAWBACK ORDER                              CASE NO. 3:19-CV-003132
